 Case: 5:20-cv-00432-HRW Doc #: 12 Filed: 11/05/20 Page: 1 of 1 - Page ID#: 61




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON

 KENNETH MOBLEY,                        )
                                        )
       Plaintiff,                       )       Civil No. 5: 20-432-HRW
                                        )
 V.                                     )
                                        )
 FAYETTE COUNTY DETENTION               )            JUDGMENT
 CENTER, et al.,                        )
                                        )
       Defendants.                      )

                             *** *** *** ***

      Consistent with the Memorandum Opinion and Order entered this date and

pursuant to Rule 58 of the Federal Rules of Civil Procedure, it is ORDERED and

ADJUDGED as follows:

      1.     Plaintiff Kenneth Mobley’s amended complaint [D. E. No. 10-1] is

DISMISSED WITHOUT PREJUDICE.

      2.     This is a FINAL and APPEALABLE Judgment and there is no just

cause for delay.

      This 5th day of November, 2020.




                                        1
